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PEGGY J. McGREGOR, individually and

on behalf of all others similarly situated

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BLAKE R. WILLIAMS, an
individual, and PEGGY J.
McGREGOR, an individual, for
themselves and on behalf of all
others similarly situated,

Plaintiffs,
Vv.

OBERON MEDIA, INC., a
Delaware corporation, and DOES 1
through 10, Inclusive,

Defendants.

 

 

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Case No. CV 09-8764 JFW (AGRx)

DECLARATION OF LEAD TRIAL
COUNSEL RE: COMPLIANCE WITH
GENERAL ORDER 07-08

Date: February 8, 2010
Time: 1:30 p.m.
Courtroom: 16

11/30/2009

Complaint filed:
12/10/2009

Complaint served:

 

DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH GENERAL ORDER 07-08

 
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DECLARATION OF RONALD W.MAKAREM

I, Ronald W. Makarem, declare and state as follows:

1. [am an attorney at the law firm of Makarem & Associates, counsel of record
For plaintiffs Blake R. Williams and Peggy J. McGregor in this action. Iam a member in
good standing of the State Bar of California and admitted to practice before this court. I
have personal knowledge of the facts set forth in this Declaration and, if called as a witnes$,
could and would testify competently to such facts under oath.

2. I make this declaration in response to paragraph 3 of the Court’s Standing Order,
dated December 10, 2009, I am lead trial counsel for plaintiffs Blake R. Williams and Peggy
J. McGregor in this matter, and I have been registered as an ECF User by the United States
District Court, Central District of California .

3. My E-mail Address of Record is Makarem@law-rm.com

4. Ihave consented to service and receipt of filed documents by electronic means in this

matter.

Executed this 13" day of January, 2010, at Los Angeles.

Dated: January 13, 2010 MAKARE ASS S, APC

By; Lb

Ronald W. Makarem, Esq.
Marni B. Folinsky, Esq.

2
PLAINTIFFS’ MOTION FOR RELIEF FROM LOCAL RULE 23-3

 

 
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NN NY N NY N NHN NY NO HB BR HR Re Bee Be Rm RR
CN KR 8 FB O NY FF Gow NY DA oa B&B WO NP FB OC

 

 

PROOF OF SERVICE
(Code of Civil Procedure §1013A(d))

1 am employed in the County of Los Angeles, State of California. I am over the age of 18 years and
not a party to the within action. My business address is 11601 Wilshire Boulevard, Suite 2440
Los Angeles, CA 90025. On January 13, 2010, I caused the foregoing document described as:

Declaration of Lead Trial Counsel Re: Compliance with General
Order 07-08

Said document was served on the interested parties in this action by placing
a true copy thereof, enclosed in a sealed envelope, addressed as follows:

Robert N. Klieger, Esq.

rklieger@kbkfirm.com
Gabriel Miller, Esq.

gmiller@kbkfirm.com

Kendall Brill & Klieger LLP

10100 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

__BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The
envelope was mailed with postage thereon fully prepaid. I am readily familiar with this
business’ practice for collection and processing of mail and that on the same day, and in the
ordinary course of business, said mail is deposited in the United States Mail with postage
thereon fully prepaid at Los Angeles, California. I am aware that on motion of a party served,
service is presumed invalid if postal cancellation date or postage meter date is more than one
day after date of deposit for mailing in the affidavit/proof of service.

__ PERSONAL SERVICE: I delivered said envelope by hand to the offices of the addressee(s).

xx__ VIA ELECTRONIC MAIL: On the interested parties above-designated at the email

address noted above.

___ VIA OVERNIGHT DELIVERY: I placed such envelope for regularly scheduled pickup at
our offices on the date of this declaration by our usual overnight delivery service.

I declare under penalty of perjury under the laws of the State of California and the
United States of American that the foregoing is true and correct. Executed on January 13,

2010, at Los Angeles, California.
(ine Mi Covell

Stefani Mclpowell

Printed on Recycled Paper

 

 
